           Case 1:21-cv-00565-RP Document 43 Filed 12/30/21 Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION


     ERIC CERVINI, WENDY DAVIS, DAVID
     GINS, and TIMOTHY HOLLOWAY,
                                                           Civil Action No. 1:21-cv-00565-RP
                                   Plaintiffs,
                                                           Hon. Robert Pitman
          v.

     ELIAZAR CISNEROS, HANNAH CEH,
     JOEYLYNN MESAROS, ROBERT
     MESAROS, DOLORES PARK, and JOHN
     and JANE DOES,

                                    Defendants.


                       [PLAINTIFFS’ PROPOSED] SCHEDULING
                                      ORDER

        Pursuant to Federal Rule of Civil Procedure 16, the following Scheduling Order is

issued by the Court:

1.      A report on alternative dispute resolution in compliance with Local Rule CV-88 shall be

        filed on or before August 30, 2022.

2.      The parties asserting claims for relief shall submit a written offer of settlement to

        opposing parties on or before June 15, 2022, and each opposing party shall respond, in

        writing, on or before July 1, 2022. All offers of settlement are to be private, not filed. The

        parties are ordered to retain the written offers of settlement and responses so the Court

        may use them in assessing attorney’s fees and costs at the conclusion of the trial.

3.      Each party shall complete and file the attached “Notice Concerning Reference to

        United States Magistrate Judge” on or before April 1, 2022.
        Case 1:21-cv-00565-RP Document 43 Filed 12/30/21 Page 2 of 6



4.   The parties shall file all motions to amend or supplement pleadings or to join

     additional parties on or before October 29, 2022.

5.   All parties shall file all designations of opening testifying experts and serve on all parties,

     but not file, the materials required by Federal Rule of Civil Procedure 26(a)(2)(B) on or

     before October 28, 2022. All parties shall file all designations of rebuttal experts and serve on

     all parties, to the extent not already served, the materials required by Federal Rule of Civil

     Procedure 26(a)(2)(B) on or before November 23, 2022.

6.   An objection to the reliability of an expert’s proposed testimony under Federal Rule of

     Evidence 702 shall be made by motion, specifically stating the basis for the objection and

     identifying the objectionable testimony, within 11 days from the receipt of the written

     report of the expert’s proposed testimony, or within 11 days from the completion of the

     expert’s deposition, if a deposition is taken, whichever is later.

7.   The parties shall complete all fact discovery on or before September 30, 2022, and all

     expert discovery on or before December 16, 2022.

8.   All dispositive motions shall be filed on or before February 3, 2023 and shall be limited

     to 20 pages. Responses shall be filed and served on all other parties not later than 14

     days after the service of the motion and shall be limited to 20 pages. Any replies shall be

     filed and served on all other parties not later than 7 days after the service of the response

     and shall be limited to 10 pages, but the Court need not wait for the reply before ruling

     on the motion.

9.   The Court will set this case for final pretrial conference at a later time. The final pretrial

     conference shall be attended by at least one of the attorneys who will conduct the trial

     for each of the parties and by any unrepresented parties. The parties should consult
           Case 1:21-cv-00565-RP Document 43 Filed 12/30/21 Page 3 of 6



        Local Rule CV-16(e) regarding matters to be filed in advance of the final pretrial

        conference.

        The parties shall not complete the following paragraph. It will be completed by

        the Court at the initial pretrial conference to be scheduled by the Court.

10.     This case is set for                 trial commencing at 9:00 a.m. on

                                                               , 20             .

        By filing an agreed motion, the parties may request that this Court extend any deadline

        set in this Order, with the exception of the dispositive motions deadline and the trial date.

        The Court may impose sanctions under Federal Rule of Civil Procedure 16(f) if the

        parties do not make timely submissions under this Order.



        SIGNED on                                                        , 20       .




                                              ROBERT PITMAN
                                              UNITED STATES DISTRICT JUDGE


Agreed as to form:
                                                     /s/ Emma Hilbert
                                                     TEXAS CIVIL RIGHTS PROJECT
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                                                     Emma Hilbert (TX Bar No. 24107808)
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Case 1:21-cv-00565-RP Document 43 Filed 12/30/21 Page 4 of 6




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Case 1:21-cv-00565-RP Document 43 Filed 12/30/21 Page 5 of 6



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           Case 1:21-cv-00565-RP Document 43 Filed 12/30/21 Page 6 of 6



                                      Certificate of Service

I hereby certify that a true and correct copy of the foregoing has been served on all counsel of
record on December 30, 2021, through the Electronic Case File System of the Western District of
Texas in compliance with the Federal Rules of Civil Procedure as well as via e-mail pursuant to an
agreement of the parties.


                                                    /s/ Jared Davidson
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